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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                           Alexandria Division


DONALD JACOBS,                                             )
                                                           )
             Plaintiff,                                    )
                                                           )
     v.                                                    ) Civil Action No. 1:20cv1059 (LMB/JFA)
                                                           )
LOGISTICS MANAGEMENT INSTITUTE,                            )
                                                           )
             Defendant.                                    )



                                                JUDGMENT

          Pursuant to the order of this Court entered on December 8, 2020 and in accordance with Fed. R. Civ. P. 58,

JUDGMENT is hereby entered in favor of defendant Logistics Management Institute and against Donald Jacobs.




                                                  FERNANDO GALINDO, CLERK

                                                  By:           /s/
                                                        Y. Guyton, Deputy Clerk


Dated: 12/08/20
Alexandria, Virginia
